
DOMENGEAUX, Judge.
This is a companion case to the matter entitled “American Security Bank of Ville Platte v. Bobby Deville,” No. 6838 on the docket of this Court, 368 So.2d 167.
For the reasons assigned therein, the judgment of the District Court is reversed. It is hereby Ordered that judgment be entered herein in favor of defendant, Bobby Deville, and against the plaintiff, American Security Bank of Ville Platte, and the Sheriff of Evangeline Parish, permanently enjoining them from proceeding with executo-ry process in this matter. All costs are *172assessed against plaintiff, American Security Bank of Ville Platte.
REVERSED AND RENDERED.
